Case 1:21-cr-O0660-RBW Document 67 Filed 07/11/23 Page 1of 3

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

)
UNITED STATES OF AMERICA )
)
Vv. ) Criminal Action No. 21-660 (RBW)
)
DANIEL MICHAEL MORRISSEY, ) FILED
)
Defendant, ) JUL 4 | 2023
Clerk, U.S. District & Bankruptcy
Courts for the District of Columbia
ORDER

On August 16, 2022. the Court sentenced the defendant to forty-five days incarceration
and a thirty-six-month term of probation, See Judgment at 2, 4, ECF No. 37. On August 19,

2022. the defendant appealed this sentence to the District of Columbia Circuit, See Notice of

Appeal at 1, ECF No. 39. On October 18, 2022. the Court granted the defendant's Motion for

Permission to Proceed on Appeal In Forma Pauperis. ECF No. 41, to the extent that the

defendant sought to proceed on appeal in forma pauperis. See Order at 1 (Oct. 18, 2022), ECF

No. 45. The defendant's appeal is currently pending before the Circuit. See Order at |. United

States v. Morrissey. No. 22-3059 (D.C. Cir. Mar. 31, 2023) (holding the defendant’s appeal in

abeyance pending the Circuit's resolution of the appeal in United States v, Little. No. 22-3018).

Following the Court’s October 18, 2022 Order granting the defendant's request to

proceed on appeal in forma pauperis. the defendant submitted six letters to the Court,’ which are

dated March 14, 2023; April 15, 2023: April 17. 2023: April 18, 2023; April 20, 2023; and

' The defendant also submitted two letters to the Court on October 6, 2022. and October 17, 2022, respectively.
seeking the Court's permission to proceed on appeal in forma pauperis, See ECF Nos. 56 and $7, The Court
granted leave to file these letters on July 6, 2023, however, the requests made by the defendant to proceed on appeal
in forma pauperis are now moot because the Court granted the defendant’s motion to proceed in forma pauperis on
October 18. 2022. See Order at 1 (Oct. 18, 2022), ECF No. 45.
Case 1:21-cr-O0660-RBW Document 67 Filed 07/11/23 Page 2 of 3

April 22, 2023, respectively.” See generally ECF Nos. ECF Nos. 59, 60, 61, 63. 64, and 66. The
content of the defendant’s letters largely concerns a claim of ineffective assistance by his former
counsel, Anthony Solis.? See generally id,

“The filing of a notice of appeal is an event of jurisdictional significance—it confers
jurisdiction on the court of appeals and divests the district court of its control over those aspects

of the case involved in the appeal.” Griggs v. Provident Consumer Discount Co., 459 U.S. 56,

59 (1982). Thus, when the defendant filed his notice of appeal with the Circuit, this Court was
divested of jurisdiction over his case. See id. And, because the defendant’s appeal raiscs a claim
of ineffective assistance of his former counsel, see Notice of Appeal at 1, ECF No. 39 (appealing
the Court’s judgment and sentence dated August 16, 2022); see also Motion for Permission to

Proceed on Appeal In Forma Pauperis, Exhibit (“Ex.”) A (Affidavit Accompanying Motion for

Permission to Appeal In Forma Pauperis) at 1, ECF No. 41-1 (stating that the defendant’s issues

on appeal are “[t]o be determined by [his] appellate counsel, but include, but are not necessarily

limited to: ineffective assistance of counsel”), the Court will not “regain jurisdiction over th[at]

issue[] until the court of appeals issues its mandate[.]” United States v. DeFries, 129 F. 3d 1293,
1302 (D.C. Cir. 1997) (per curiam). Accordingly, it is hereby
ORDERED that the defendant’s request for a status hearing, as well as his requests for

other relief, ECF Nos. 59. 60. 61, 63, 64. and 66, are DENIED WITHOUT PREJUDICE. It is

further

2 On July 6, 2023, and July 7, 2023, the Court granted leave to file the defendant's letters on the docket and
requested that the Clerk of the Court file the April 18. 2023 letter and its attachments, as well as attachments to
several of the other letters, under seal and ex parte because these documents contain attorney-client privileged
communications.

3 ‘The Court also notes that the defendant’s letters include very similar allegations to the allegations that were raised
by the defendant, and addressed by the Court, during a status hearing held on July 14, 2022. See Minute Entry
(July 14, 2022).

Ww
Case 1:21-cr-O0660-RBW Document 67 Filed 07/11/23 Page 3 of 3

ORDERED that the defendant’s letter, ECF No. 57. is DENIED WITHOUT
PREJUDICE IN PART AND DENIED AS MOOT IN PART. The letter is DENIED
WITHOUT PREJUDICE to the extent that it seeks vacatur relief. The fetter is DENIED AS

MOOT to the extent that it seeks approval to proceed on appeal in forma pauperis, in light of the

Court’s October 18, 2022 Order granting the defendant's motion to proceed on appeal in forma
paupcris. It is further

ORDERED that the defendant’s request to proceed on appeal in forma pauperis, ECF
No. 56, is DENIED AS MOOT, in light of the Court’s October 18, 2022 Order granting the

defendant’s motion to proceed on appeal in forma pauperis.

kip h Vile

REGGIE B. WALTON
United States District Judge

SO ORDERED this 1 ith day of July, 2023.

